        Case 1:23-cv-08290-LDH-RML Document 4 Filed 11/09/23 Page 1 of 1 PageID #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

             CARLOS ALBERTO SANCHEZ,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )                            23 cv 8290 LDH-RML
                                v.                                            Civil Action No.
                                                                      )
   TOP CITY GOURMET, INC., and ALI T. MOZEB,                          )
       and MOHAMED MOZEB, individually,                               )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TOP CITY GOURMET, INC., 144 Wyckoff Avenue, Brooklyn, New York 11237

                                           ALI T. MOZEB, 144 Wyckoff Avenue, Brooklyn, New York 11237

                                           MOHAMED MOZEB, 144 Wyckoff Avenue, Brooklyn, New York 11237



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Cilenti & Cooper, PLLC
                                           60 East 42nd Street - 40th Floor
                                           New York, NY 10165



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:        11/9/2023
                                                                                           Signature of Clerk or Deputy Clerk
